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BY ELETRONIC FILING
&. U.S. MAIL

The Honorable Denis R. Hurley, U.S.D.I.
United States District

Eastem District ofNew York

Long Island Courthouse

100 Federai Plaza

Central Islip, NY 11722

Re: Nelsan Hocker v. ADT Security Service, Inc. and Sam Brlmetti
Civil Actiol_l No.: 05-5225 (DRH) (JO)

Dear fudge Hur}ey:

We represent defendants ADT Security Service, Inc and Sam Brunetti in the
above-referenced matter. I write to advise the Court that the parties have resolved this
matter. Accordingly, this ease should be taken off the Court’s calendar.

Respectfully submitted,

OGELTREE, DEAKJNS, NASH,
SMOAK & STEWART, P.C.

jii§fs.;/L/ Rygiel Boyd

JRB:jb

cc: John I. Leo, Esq. (by electronic filing)
The Honorabie haines Orenstein, U.S.M.J. (by electronic filing)

 

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A South Carolina Professional Carporation
Patrick M. Stanton New ]ersc}' Managing Shareholder

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I-Ion. Dem`s R. Hurley, U.S.D.J.
Mareh 13, 2006
Page 2

beer MS. Kelly Tirik (by emaii)
Mr. Sam Brimetti (by email)
Brian D. Lee, Esq.

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